           Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 1 of 25
                                                                                                                      EXHIBIT "B"
                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    08/10/2021
                                                                                                    CT Log Number 540054398
TO:         Kim Lundy- Email
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Georgia

FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Lane Shaharazard, Pltf. vs. Wal-Mart Stores East, LP, Dft.
DOCUMENT(S) SERVED:                               Summons, Information Form, Complaint, First Interrogatories, First Request
COURT/AGENCY:                                     Gwinnett County State Court, GA
                                                  Case # 21C05905S6
NATURE OF ACTION:                                 Personal Injury - Slip/Trip and Fall - 09/02/2019, 2635 Pleasant Hill Road, Duluth,
                                                  GA 30096.
ON WHOM PROCESS WAS SERVED:                       The Corporation Company (FL), Cumming, GA
DATE AND HOUR OF SERVICE:                         By Process Server on 08/10/2021 at 13:29
JURISDICTION SERVED :                             Georgia
APPEARANCE OR ANSWER DUE:                         Within 30 days after service, exclusive of the day of service (Document(s) may
                                                  contain additional answer dates)
ATTORNEY(S) / SENDER(S):                          Campbell Williamson
                                                  Schneider Hammers LLC
                                                  5555 Glenridge Connector
                                                  Suite 975
                                                  Atlanta, GA 30342
                                                  770-900-9000
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 08/11/2021, Expected Purge Date:
                                                  08/16/2021

                                                  Image SOP

REGISTERED AGENT ADDRESS:                         The Corporation Company (FL)
                                                  106 Colony Park Drive
                                                  STE 800-B
                                                  Cumming, GA 30040
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / TD
                   Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 2 of 25
                                                                                                EXHIBIT "B"21-C-05905-S
                                                                                    CLERK OF STATE COUF
                                                                                GWINNETT COUNTY, GEORGI

                             IN THE STATE COURT OF GWINNETT COUNTY
                                                                                                                    8/9/2021 3:33 PI
                                                                                                                 TIANA P. GARNER, CLER

                                                 STATE OF GEORGIA
Shaharazard Lane

                                                                                      CIVIL ACTION           21-C-05905-S6
                                                                                      NUMBER:

                                  PLAINTIFF


            vs
Wal-Mart Stores East, LP



                                  DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:

Campbell Williamson - Schneider Hammers LLC
5555 Glenridge Connector, Suite 975
Atlanta, Georgia 30342

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so,judgment by default will be taken against you for the relief demanded in the complaint.
       9TH                             AUGUST                                        21
This                     day of                                           ,     20        .


                                                                            Tiana P. Garner
                                                                           Clerk of State Court



                                                                           By
                                                                                              Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
                                                                                                                    ,               .
                      Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 3 of 25
                                                                                            EXHIBIT "B"21-C
                                                                                       CLERK OF STATE COUF
                                                                                   GWINNETT COUNTY,                                 GEORGI
                        General Civil and Domestic Relations Case Filing Information Form                                 -05905-S
                                                                                                                   8/9/2021 3:33 PI
                                                                                                              TIANA P. GARNER, CLER
                           Li Superior or 0 State Court of Gwinnett                         County




Plaintiff(s)                                                 Defendant(s)
Lane, Shaharazard                                            Wal-Mart Stores East, LP
Last          First           Middle I.    Suffix   Prefix    Last              First        Middle I.    Suffix    Prefix


Last          First           Middle I.    Suffix   Prefix    Last              First        Middle I.    Suffix    Prefix


Last          First           Middle I.    Suffix   Prefix    Last              First        Middle I.    Suffix    Prefix


Last          First           Middle I.    Suffix   Prefix    Last              First        Middle I.    Suffix    Prefix

Plaintiff's Attorney Campbell Williamson                        Bar Number 841365                  Self-Represented CI

                                             Check One Case Type in One Box

        General Civil Cases                                          Domestic Relations Cases
       O       Automobile Tort                                       O        Adoption
       O       Civil Appeal                                          O        Dissolution/Divorce/Separate
       O       Contract                                                       Maintenance
       Li      Garnishment                                           O        Family Violence Petition
       •       General Tort                                          CI       Paternity/Legitimation
       Li      Habeas Corpus                                         O        Support — IV-D
       O       Injunction/Mandamus/Other Writ                        O        Support — Private (non-IV-D)
       O       Landlord/Tenant                                       Li       Other Domestic Relations
       Li      Medical Malpractice Tort
       CI      Product Liability Tort                                Post-Judgment — Check One Case Type
       CI      Real Property                                         Li        Contempt
       O       Restraining Petition                                       0    Non-payment of child support,
       O       Other General Civil                                             medical support, or alimony
                                                                     O        Modification
                                                                     CI       Other/Administrative

Li     Check if the action is related to another action(s) pending or previously pending in this court involving some or all
       of the same parties, subject matter, or factual issues. If so, provide a case number for each.

                Case Number                                  Case Number

       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
       redaction of personal or confidential information in 0.C.G.A. § 9-11-7.1.

Li     Is an interpreter needed in this case? If so, provide the language(s) required.
                                                                                           Language(s) Required

0      Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                                                                        Version 1.1.18
                                                                                              -

                                                                            EXHIBIT "B"21-C-05905-S
          Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 4 of 25  CLERK OF STATE COUF
                                                                       GWINNETT COUNTY, GEORGI


                                                                                               8/9/2021 3:33 PI
                                                                                            TIANA P. GARNER, CLER

                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 SHAHARAZARD LANE,                              )
                                                )
      Plaintiff,                                )
                                                )
 v.                                             )     Civil Action
                                                )     File No.     21-C-05905-S6
 WAL-MART STORES EAST, LP,                      )
                                                )     JURY TRIAL DEMANDED
       Defendant.                               )
                                                )

                                COMPLAINT FOR DAMAGES

        COMES NOW Plaintiff in the above-styled civil action, and brings this Complaint

against the Defendant above-named, and in support hereof, shows the Court as follows:

                                                 1.

        Defendant Wal-Mart Stores East, LP. is a foreign for-profit corporation with its principal

office at 708 SW 8t1i Street, Bentonville, Arkansas 72716. Defendant may be served through its

registered agent, The Corporation Company, located at 106 Colony Park Drive, Suite 800-B,

Cumming, Georgia 30040.

                                                2.

       Defendant is subject to the jurisdiction of this Court and venue properly lies in this county

pursuant to 0.C.G.A. § 14-2-510(b)(4).

                                                3.

       Defendant owns and operates a store at 2635 Pleasant Hill Road, in Duluth, Georgia

30096 ("the premises").

                                                4.

       On September 2, 2019, Plaintiff was an invitee shopping on the premises.
          Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 5 of 25
                                                                              EXHIBIT "B"

                                                   5.

        At said place and time, Plaintiff walked down a dry goods aisle inside the premises and

slipped and fell in a clear liquid on the floor.

                                                   6.

       Plaintiff was unable to visualize or appreciate the liquid on the floor.

                                                   7.

       The condition of the floor constituted a hazardous condition on the premises.

                                                   8.

        No hazardous condition warnings were placed in a conspicuous location to warn Plaintiff

of the hazard on the premises.

                                                   9.

        At said place and time, Defendant owed Plaintiff a duty to exercise ordinary care to keep

the premises safe, to not injure Plaintiff by maintaining a dangerous condition, and to warn

Plaintiff of any hazardous conditions on its premises.

                                                   10.

       Defendant breached this duty of care by, among other things, failing to keep the area safe

for Plaintiff, failing to warn Plaintiff of the dangerous condition, and failing to regularly inspect

and/or maintain the area so as to discover and remove hazards.

                                                   1 1.

       Defendant had actual or constructive knowledge of the hazardous condition caused by the

water on the floor.

                                                   12.

        As a direct and proximate result of Defendant's negligence, Plaintiff received personal

injuries and incurred extensive charges for medical treatment in excess of $34,026.81 to date,
         Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 6 of 25
                                                                             EXHIBIT "B"

and will incur additional medical and other expenses in the future.

                                                 13.

       As a further direct and proximate result of Defendant's negligence, Plaintiff has sustained

great physical and mental pain and suffering, inability to enjoy a normal life, a diminished

capacity to work and labor, and Plaintiff is entitled to a judgment against Defendants for a sum to

be determined by the jury to constitute full and complete compensation for all her injuries, past,

present, and future.

       WHEREFORE,Plaintiff prays for the following:

      (a)      That service of process issue upon Defendant as provided by law;

      (b)      That Plaintiff be awarded compensatory damages and general damages for pain

and suffering, past, present and future in a sum and amount to be shown at trial in accordance

with the enlightened conscience of an impartial jury;

      (c)      That Plaintiff have a trial by jury on all issues; and

      (c)      That Plaintiff have such other and further relief as this Honorable Court deems just

and proper under the circumstances.




                                                        Respectfully submitted,

                                                       /s/ Campbell Williamson
                                                       Jason T. Schneider
                                                       Georgia Bar No. 629549
                                                       Campbell Williamson
                                                       Georgia Bar No. 841365
                                                       Jason E. Duncan
                                                       Georgia Bar No. 557510
                                                        Attorneys for Plaintiff
                                                          EXHIBIT "B"
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 SCHNEIDER HAMMERS LLC
 5555 Glenridge Connector
 Suite 975
 Atlanta, Georgia 30342
(770) 900-9000


                                        /s/ Kathleen M Edwards-Opperman
                                        Kathleen M. Edwards-Opperman
                                        Georgia Bar No. 241460
                                        Attorney for Plaintiff

 MONTLICK & ASSOCIATES,P.C.
 17 Executive Park Drive
 Suite 300
 Atlanta, Georgia 30329
(404)235-5000
                                                                                                  .      -
           Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 8 of 25
                                                                              EXHIBIT "B"
                                                                                               CLERK OF STATE COUF
                                                                                           GWINNETT COUNTY, GEORGI
                                                                                                    21-C-05905-S
                                                                                                  8/9/2021 3:33 PI
                                                                                              TIANA P. GARNER, CLER

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

  SHAHARAZARD LANE,                              )
                                                 )
       Plaintiff,                                )
                                                 )
  v.                                             )     Civil Action
                                                 )     File No.          21-C-05905-S6
  WAL-MART STORES EAST, LP,                      )
                                                 )
        Defendant.                               )
                                                 )

       PLAINTIFF'S FIRST CONTINUING INTERROGATORIES TO DEFENDANT

        Plaintiff hereby serves these Interrogatories upon the above-named Defendant as an

opposite party and requests that they be fully answered in writing and under oath within forty-five

(45) days of the date of service. These interrogatories are served pursuant to the Georgia Civil

Practice Act and more specifically to the provisions of 0.C.G.A. §§ 9-11-26 and 9-11-33.

        NOTE A:        The Defendant "shall furnish such information as is available to the party."

See 0.C.G.A. § 9-11-33(a).

        NOTE B:        These Interrogatories shall be deemed continuing and supplemental

responses shall be required as set forth in 0.C.G.A. § 9-11-26(e).

                                                  1.

        Do you contend that venue is improper in this Court,jurisdiction is lacking over you in this

Court, or that service of process has been deficient on you in this matter? If so, please describe and

state with specificity all factual and legal bases supporting any such contention(s).

                                                  2.

        Do you contend that some other person or company, in whole or in part, is liable to Plaintiff

in this matter or is liable, in whole or in part, to you? Please state "yes" or "no." If your answer is
          Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 9 of 25
                                                                             EXHIBIT "B"

in any way in the affirmative, state the full name, address, and telephone number of that person or

company and the specific basis for any such contention(s).

                                                 3.

       Identify any entity or individual who had any ownership or operational interest in the

Walmart store located at 2635 Pleasant Hill Road in Duluth, Georgia 30096, or otherwise operated

or managed that store on September 2, 2019.

                                                 4.

       Describe in detail how you contend the incident described in the Complaint occurred.

                                                 5.

       Identify any and all expert witnesses you expect to call at the trial of this matter(as defined

above), providing for each such expert the subject matter on which the expert is expected to testify,

the substance of the facts and opinions to which the expert is expected to testify, and a summary

of the grounds for each opinion.

                                                 6.

       Identify any and all persons whom you know or suspect witnessed the subject incident, or

came upon the incident scene while the Plaintiff was still present.

                                                 7.

       Identify any employees, representatives, agents, or independent contractors who mopped

or otherwise cleaned the store floors in the hour preceding Plaintiff's fall on September 2, 2019.

                                                 8.

       Have you taken, or are you aware of, or have you obtained, any statement, be it oral or in

writing, from the Plaintiff, any witness or other person purporting to have knowledge of any aspect

of the subject incident? If so, identify the name of the person who gave the statement, state what
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                                                                               EXHIBIT "B"

was said by such person and state the name, address, and telephone number of anyone who

overheard the statement or has possession, custody, or control of such statement, transcript, or

summary of such statement.

                                                   9.

        Identify any photographs, motion pictures, videotapes, surveys, charts, plats, plans,

drawings, blueprints, sketches, diagrams,computer simulations, or any other type of demonstrative

evidence concerning the subject incident, the site of the subject incident, or which in any way

illustrates any facts relevant to the subject incident. As to each item, please state the nature of such

item; how many of such items exist; the name, address and employer of the person

making/supplying such item; and the identity of the person who presently possesses such item.

                                                  10.

        Describe the extent of your knowledge of the existence of the wet floor on the premises

described in the Complaint, identify the length of time the floor had been wet, and describe the

facts that underly your understanding or knowledge of how the floor became wet at the site of

Plaintiff's fall.

                                                  11.

        Was an investigation or report made by you or on behalf of you, your representatives,

attorneys, or insurers, of or relating to the incident made the basis of this lawsuit? If your answer

is in any way in the affirmative, as to each such investigation or report, please state the name,

address,job title and description, and telephone number of the person(s) who participated in such

investigation or report and who have received and/or currently have custody or control of any

written report or other documentation of the investigation.

                                                  12.
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                                                                           EXHIBIT "B"

       State whether or not an inspection protocol or policy and procedure was in effect at the

subject location on the date of the subject incident and describe the protocol and identify any

company documents that describe said protocol or policy and procedure.

                                               13.

       For each inspection protocol or policy and procedure identified above, state whether or not

it was performed and if so, by whom and describe the results.

                                               14.

       State the following information concerning any and all liability insurance, including excess

or umbrella coverage or coverage by any other description, which does or may afford insurance

coverage to you for the claims made in this lawsuit:

   a) Name of each insurance company issuing policy;

   b) Applicable liability limits concerning each policy;

   c) Policy number of each policy;

   d) Types of insurance coverage carried;

   e) Whether or not the defense of this action has been tendered to such any such insurer;

   0 Whether defense has been accepted by each such insurer to whom defense has been

       tendered;

   g) Whether this Defendant has made any claims under said policy or policies as a result ofthe

       occurrence herein;

   h) The nature, extent, and amount of any such claim or claims with said insurer(s); and,

   )
   i Whether those claims have been paid by said insurer(s) and the amount of said payment(s).
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                                                                             EXHIBIT "B"

                                                 15.

        Were there video cameras in place at the subject establishment on the date of Plaintiff's

fall? If so, state the following:

            a) Were the cameras operating on the date of Plaintiff's fall?

            b) The location of each camera and the area it filmed.

            c) Did any camera film the area where Plaintiff fell?

            d) Was the videotape(s) reviewed to see if it filmed Plaintiff's fall or any alleged

            e) inspection of the area of Plaintiff's fall prior to her fall? If so, by whom and when?

            f) If any such videotape(s) exist, state the current location and custodian.-


                                                 1 6.

        What is your protocol for retaining videotapes:

      (a) In the ordinary course of business?

      (b) In the event of an incident such as an injury on the premises that may lead to a claim

            being presented to you?

       (c) Who was responsible for implementing this protocol at the subject store on the date of

            the subject incident?


                                                 17.

       Please identify by name, address and telephone number the any employee who supervised

the operations at the premises.
                                                                 EXHIBIT "B"
         Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 13 of 25



                                           Respectfully submitted,

                                           /s/ Campbell Williamson
                                           Jason T. Schneider
                                           Georgia Bar No. 629549
                                           Campbell Williamson
                                           Georgia Bar No. 841365
                                           Jason E. Duncan
                                           Georgia Bar No. 557510
                                            Attorneys for Plaintiff •

 SCHNEIDER HAMMERS LLC
 5555 Glenridge Connector, Suite 975
 Atlanta, Georgia 30342
(770)900-9000


                                           /s/Kathleen M Edwards-Opperman
                                           Kathleen M. Edwards-Opperman
                                           Georgia Bar No. 241460
                                           Attorney for Plaintiff

 MONTLICK & ASSOCIATES,P.C.
 17 Executive Park Drive
 Suite 300
 Atlanta, Georgia 30329
(404) 235-5000
                                                                                                                 -
          Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 14 of 25
                                                                              EXHIBIT "B"      CLERK OF STATE COUF
                                                                                           GWINNETT COUNTY, GEORGI
                                                                                                    21-C-05905-S
                                                                                                  8/9/2021 3:33 PI
                                                                                               TIANA P. GARNER, CLER

                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

  SHAHARAZARD LANE,                                 )
                                                    )
       Plaintiff,                                   )
                                                    )
  v.                                                )    Civil Action   21-C-05905-S6
                                                    )    File No.
  WAL-MART STORES EAST, LP,                         )
                                                    )
        Defendant.                                  )
                                                    )

 PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND THINGS
                            TO DEFENDANT

        Plaintiff hereby requests pursuant to the Georgia Civil Practice Act, that the above-named

 Defendant produce to the law offices SCHNEIDER HAMMERS LLC,5555 Glenridge Connector,

 Suite 975, Atlanta, Georgia 30342, no later than forty-five (45) days from the date of service, the ,

 documents and things described below that are in the possession, custody, and control of

 Defendant, its employees or subordinates, agents, and/or attorneys.

                                                    1.

        Please produce a schematic of the subject Walmart, 2635 Pleasant Hill Road in Duluth

 Georgia 30096 which reflects the location of the area of the subject incident and the location and

• direction of every camera within the subject property.

                                                    2.

        Please produce true, accurate and complete copies of any and all documents relating to

 your contention that some other person or company is, in whole or in part, liable to Plaintiff in this

 matter or is liable, in whole or in part, to you in this matter.

                                                    3.

        Please produce true, accurate and complete copies of any and all documents reflecting who
         Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 15 of 25
                                                                             EXHIBIT "B"

was the owner/operator of the subject Walmail on September 2, 2019.

                                                     4.

        Please produce true, accurate and complete copies of any and all policies, procedures,

training manuals, and other documents or things that pertain to injury accidents, safety,

maintenance, inspection procedures and protocols for the subject premises.

                                                     5.

        Please produce true, accurate and complete copies of any and all cleaning or inspection

logs or reports for the subject Walmart for the date of September 2,2019.

                                                     6.

        Please produce true, accurate and complete copies of any incident reports drafted in

response to Plaintiff's fall.

                                                     7.

       Please produce true, accurate and complete copies of any report(s) of each and every

individual you expect to call at the trial of this matter to offer opinion or expert testimony in any

way related to the subject incident or to any issue in this matter.

                                                     8.

        Please produce true, accurate and complete copies of any and all photographs, diagrams,

videotapes, maps, plats, charts, or other graphic, pictorial, or demonstrative evidence reflecting the

scene of the subject incident of Plaintiff's fall.

                                                     9.

       Please produce any and all documents, forms, electronic data, or otherwise which contain

a record of any and all review of any and all video surveillance which captured the incident, the

last reasonable inspection, and how long the hazard condition remained on the floor where the
         Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 16 of 25
                                                                              EXHIBIT "B"

subject incident occurred.

                                                  10.

       Please produce true, accurate and complete copies of any and all statements of Plaintiff,

any witness or other individual purporting to have knowledge of the subject incident.

                                                  1 1.

       Please produce true, accurate and complete copies of any and all similar incidents resulting

in injury occurring at the subject Walmart in the five years prior to the date of Plaintiff's fall.

                                                  1 2.

       Please produce true, accurate and complete copies of any and all policies of insurance (to

include the Declarations pages and Certificate of Coverage) which do or may afford liability

insurance coverage to this Defendant for the claims made in this lawsuit.

                                                  13.

       Please produce any videotape or photographs of the Plaintiff in your possession.

                                                  14.

       Please produce the personnel files for any and all employees or contractors responsible for

maintenance, cleaning, and inspections on duty on the date of the subject incident.

                                                  15.

       Please produce any documents or tangible things upon which you base your denial of

liability for the damages alleged in the Complaint, or which you claim supports your denial of

liability or denial of the amount of damages.

                                                  16.

       Please produce a list of all of your employees, contractors, agents, or representatives who

worked at the subject Walmart on the date of the incident.
                                                                     EXHIBIT "B"
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                                           17.

       Please produce all documents obtained through Requests to Non-Parties pursuant to

0.C.G.A. § 9-11-34.



                                                 Respectfully submitted,

                                                 /s/ Campbell Williamson
                                                 Jason T. Schneider
                                                 Georgia Bar No. 629549
                                                 Campbell Williamson
                                                 Georgia Bar No. 841365
                                                 Jason E. Duncan
                                                 Georgia Bar No. 557510
                                                 Attorneys for Plaintiff
 SCHNEIDER HAMMERS LLC
 5555 Glenridge Connector, Suite 975
 Atlanta, Georgia 30342
(770)900-9000



                                                 /s/ Kathleen M Edwards-Opperman
                                                 Kathleen M. Edwards-Opperman
                                                 Georgia Bar No. 241460
                                                 Attorney for Plaintiff

 MONTLICK & ASSOCIATES,P.C.
 17 Executive Park Drive
 Suite 300
 Atlanta, Georgia 30329
(404) 235-5000
                                                                                E-FILED IN OFFICE - CS
                                                                EXHIBIT "B"
       Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 18 of 25       CLERK OF STATE COURT
                                                                          GWINNETT COUNTY, GEORGIA
                                                                                    21-C-05905-S6
                                                                                8/31/2021 9:47 AM
                                                                              TIANA P. GARNER, CLERK

               IN THE STATE COURT OF GWINNETT COUNTY
                          STATE OF GEORGIA

SHAHARAZARD LANE,                                         Civil Action File No.
                                                          21-C-05905-S6
             Plaintiff,
v.

WAL-MART STORES EAST, LP,

             Defendant.
                             /

                           ANSWER OF DEFENDANT

      COMES NOW, Defendant WAL-MART STORES EAST, LP and makes this

Answer to Plaintiff's Complaint as follows:

                                  FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which

relief can be granted.

                                 SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused

by Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                 THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to




                                                                              Page -1-
                                                                 EXHIBIT "B"
       Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 19 of 25




herself; and on account thereof, Plaintiff is not entitled to recover from

Defendant.

                                FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that

any negligent act or omission on its part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                 SIXTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                         1.

      Defendant admits the allegations contained in paragraph 1 of the Plaintiff's

Complaint.

                                         2.

      Defendant denies the allegations contained in paragraph 2 of the Plaintiff's

Complaint.




                                                                             Page -2-
                                                               EXHIBIT "B"
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                                        3.

      Defendant admits that it operates the store at issue, but denies the

remaining allegations contained in paragraph 3 of the Plaintiff’s Complaint.

                                        4.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 4 of Plaintiff's Complaint, which are

accordingly deemed denied.

                                        5.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 5 of Plaintiff's Complaint, which are

accordingly deemed denied.

                                        6.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 6 of Plaintiff's Complaint, which are

accordingly deemed denied.

                                        7.

      Defendant denies the allegations contained in paragraph 6 of the Plaintiff’s

Complaint.




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                                        8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff’s

Complaint.

                                        9.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 9 of Plaintiff's Complaint, which are

accordingly deemed denied.

                                       10.

      Defendant denies the allegations contained in paragraph 10 of the

Plaintiff’s Complaint.

                                       11.

      Defendant denies the allegations contained in paragraph 11 of the

Plaintiff’s Complaint.

                                       12.

      Defendant denies the allegations contained in paragraph 12 of the

Plaintiff’s Complaint.

                                       13.

      Defendant denies the allegations contained in paragraph 13 of the

Plaintiff’s Complaint.



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                                       14.

      All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                       15.

      Defendant denies Plaintiff's prayer for relief, including all subparts

thereof.

      WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed

with prejudice with all costs cast upon the Plaintiff. DEFENDANT DEMANDS

TRIAL BY A JURY OF TWELVE (12) PERSONS AS TO ALL ISSUES SO

TRIABLE.


                                      McLAIN & MERRITT, P.C.

                                       /s/ Ernest L. Beaton, IV
                                      Ernest L. Beaton, IV
                                      Georgia Bar No. 213044
                                      Attorneys for Defendant
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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WAL-MART STORES EAST, LP has this day been filed and

served upon opposing counsel via Odyssey eFileGA.

      This the 31st day of August, 2021.

                                      McLAIN & MERRITT, P.C.



                                      /s/ Ernest L. Beaton, IV
                                      Ernest L. Beaton, IV
                                      Georgia Bar No. 213044
                                      Attorney for Defendant
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       Case 1:21-cv-03702-JPB Document 1-2 Filed 09/07/21 Page 24 of 25         CLERK OF STATE COURT
                                                                            GWINNETT COUNTY, GEORGIA
                                                                                      21-C-05905-S6
                                                                                  8/31/2021 9:47 AM
                                                                                TIANA P. GARNER, CLERK

                IN THE STATE COURT OF GWINNETT COUNTY
                           STATE OF GEORGIA

SHAHARAZARD LANE,                                   Civil Action File No.
                                                    21-C-05905-S6
             Plaintiff,
v.

WAL-MART STORES EAST, LP,

             Defendant.
                              /

                           12-PERSON JURY DEMAND

      COMES NOW Defendant, WAL-MART STORES EAST, LP and demands a

trial by a jury of twelve (12) persons.


                                          McLAIN & MERRITT, P.C.

                                          /s/ Ernest L. Beaton, IV
                                          Ernest L. Beaton, IV
                                          Georgia Bar No. 213044
                                          Attorneys for Defendant
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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing 12-PERSON JURY

DEMAND has this day been filed and served upon opposing counsel via

Odyssey eFileGA.

      This the 31st day of August, 2021.

                                      McLAIN & MERRITT, P.C.



                                      /s/ Ernest L. Beaton, IV
                                      Ernest L. Beaton, IV
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